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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 22-CV-81758-RAR

 DONALD J. TRUMP,

        Plaintiff,

 v.

 SELECT COMMITTEE TO INVESTIGATE
 THE JANUARY 6TH ATTACK ON THE
 UNITED STATES CAPITOL, et al.,

       Defendants.
 _______________________________________________/

                                     ORDER OF DISMISSAL

        THIS CAUSE comes before the Court upon Plaintiff’s Suggestion of Mootness, [ECF No.

 8], filed on December 30, 2022. Plaintiff Donald J. Trump filed his Complaint, [ECF No. 1], on

 November 11, 2022, to prevent the enforcement of a subpoena issued by the House Select

 Committee to Investigate the January 6th Attack on the U.S. Capitol (“Select Committee”).

 However, on December 28, 2022, the Chairman of the Select Committee sent Plaintiff’s counsel a

 letter withdrawing the subpoena at issue in this case. [ECF No. 8-1]. As a result, Plaintiff

 maintains this case is moot and should be dismissed for lack of subject matter jurisdiction as “there

 would appear to be no need for further relief from this Court and therefore no live controversy

 between the parties related to the previously issued subpoena.” [ECF No. 8] at 1.

        Federal courts only have subject matter jurisdiction over “cases or controversies.” Spencer

 v. Kemna, 523 U.S. 1, 7 (1998) (citing U.S. Const. art. III, § 2). “When the delegates to the

 Constitutional Convention gathered in the summer of 1787, the extent of federal-court jurisdiction

 formed a focal point of their discussions.” Trichell v. Midland Credit Mgmt., Inc., 964 F.3d 990,
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 996 (11th Cir. 2020). Ultimately, the “judicial power” bestowed upon federal courts under Article

 III of the United States Constitution by the Founders was limited to resolve only “Cases” or

 “Controversies.” Id. (citing U.S. Const. art. III, § 1–2). “As a result, federal courts may exercise

 their power only ‘for the determination of real, earnest, and vital controversy between

 individuals.’” Id. (quoting Chi. & Grand Trunk Ry. Co. v. Wellman, 143 U.S. 339, 345 (1892)).

 Indeed, “[n]o principle is more fundamental to the judiciary’s proper role in our system of

 government than the constitutional limitation of federal-court jurisdiction to actual cases or

 controversies.” Id. (quoting Raines v. Byrd, 521 U.S. 811, 818 (1997)). It is this “case-or-

 controversy requirement, embodied in the doctrine of standing, [that] ‘confines the federal courts

 to a properly judicial role.’” Id. (quoting Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016)).

          Here, the recent withdrawal of the subpoena at issue has effectively eliminated any “real,

 earnest, and vital controversy” between the parties. Trichell, 964 F.3d at 996. Consequently, the

 Court is without subject matter jurisdiction. Thus, having carefully reviewed the record and being

 otherwise fully advised, it is hereby

          ORDERED AND ADJUDGED that the above-styled case is DISMISSED without

 prejudice. 1 All pending motions are DENIED as MOOT and the Clerk is directed to CLOSE

 this case.

          DONE AND ORDERED in Miami, Florida, this 4th day of January, 2023.




                                                                ____________________________________
                                                                RODOLFO A. RUIZ II
                                                                UNITED STATES DISTRICT JUDGE



 1
  “A dismissal for lack of subject matter jurisdiction is not a judgment on the merits and is entered without
 prejudice.” Stalley ex rel. U.S. v. Orlando Reg’l Healthcare Sys., Inc., 524 F.3d 1229, 1232 (11th Cir. 2008).


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